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                      UNITED STATES COURT OF APPEALS
                                                                      FILED
                             FOR THE NINTH CIRCUIT
                                                                       JUN 21 2022
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




   ESTATE OF CLEMENTE NAJERA                     No. 19-56462
   AGUIRRE; et al.,
                                                 D.C. No. 5:18-cv-00762-DMG-SP
                 Plaintiffs - Appellees,
                                                 U.S. District Court for Central
     v.                                          California, Riverside

   COUNTY OF RIVERSIDE and DAN                   MANDATE
   PONDER,

                 Defendants - Appellants.


          The judgment of this Court, entered March 24, 2022, takes effect this date.

          This constitutes the formal mandate of this Court issued pursuant to Rule

  41(a) of the Federal Rules of Appellate Procedure.

                                                 FOR THE COURT:

                                                 MOLLY C. DWYER
                                                 CLERK OF COURT

                                                 By: Rebecca Lopez
                                                 Deputy Clerk
                                                 Ninth Circuit Rule 27-7
